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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UNITED STATES COMMODITY                        §
FUTURES TRADING COMMISSION,                    §
                                               §
                  Plaintiff,                   §
                                               §
v.                                             §          Civil Action No. A-12-CV-0862-LY
                                               §
SENEN POUSA, INVESTMENT                        §
INTELLIGENCE CORPORATION,                      §
DBA PROPHETMAX MANAGED FX,                     §
JOEL FRIANT, MICHAEL DILLARD, and              §
ELEVATION GROUP, INC.,                         §
                                               §
                  Defendants.                  §

                       ORDER GRANTING RECEIVER’S
            MOTION FOR APPROVAL OF ELEVENTH FEE APPLICATION

       Before the Court is the Receiver’s Motion for Approval of Eleventh Fee Application and

Brief in Support (“Motion”), covering the time period July 28, 2019, through February 29, 2020.

Having considered the Motion, the evidence presented, and arguments of counsel, if any, the Court

finds the time spent, services performed, hourly rates charged, and expenses incurred by the

Receiver and his retained professionals were reasonable and necessary for the Receiver to perform

his Court-ordered duties. The Court concludes the Motion should be, and is hereby, GRANTED.

       It is therefore ORDERED that payment for interim fees and expenses of $191,179.73 to

the Receiver for services rendered to the ProphetMax Receivership Estate and IB Capital

Receivership Estate during the Eleventh Fee Period is approved.

       SIGNED this             day of                              , 2020.



                                                    LEE YEAKEL
                                                    UNITED STATES DISTRICT JUDGE
